                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
                                                       )
v.                                                     )      Criminal No. 3:14-cr-00104
                                                       )      Judge Trauger
JOHN WESLEY CANTRELL III, ET AL.                       )
                                                       )

                                             ORDER

       A status conference was held in this case on September 11, 2015. Several defendants are

scheduled for change of plea hearings, and the government anticipates that the remaining

defendants will do likewise. The trial will remain set for November 17, 2015. It is further

ORDERED that another status conference will be held on October 26, 2015 at 1:30 p.m. The

appearance of defendants is excused from this hearing. Only counsel for defendants who have

not yet pled guilty or scheduled a plea are to appear for this status hearing.

       It is so ORDERED.

       Enter this 14th day of September 2015.



                                                       ___________________________________
                                                       ALETA A. TRAUGER
                                                       United States District Judge




 Case 3:14-cr-00104         Document 307         Filed 09/14/15      Page 1 of 1 PageID #: 644
